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 Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                    §
                                                    §
                                                    §   Adv. Proc. No. 21-03003-sgj
                                 Plaintiff,
                                                    §
 vs.                                                §
                                                    §
                                                    §   Case No. 3:21-cv-00881-X
 JAMES DONDERO, NANCY DONDERO, AND THE              §
 DUGABOY INVESTMENT TRUST,                          §
                                                    §
                                                    §
                                 Defendants.        §
                                                    §




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                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,             Adv. Proc. No. 21-03005-sgj
                                               §
                                               §
 vs.
                                               §
                                               §
 NEXPOINT ADVISORS, L.P., JAMES                    Case No. 3:21-cv-00881-X
                                               §
 DONDERO, NANCY DONDERO, AND
                                               §
 THE DUGABOY INVESTMENT TRUST,
                                               §
                                               §
                            Defendants.        §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,             Adv. Proc. No. 21-03006-sgj
                                               §
                                               §
 vs.
                                               §
                                               §
 HIGHLAND CAPITAL MANAGEMENT                       Case No. 3:21-cv-00881-X
                                               §
 SERVICES, INC., JAMES DONDERO,
                                               §
 NANCY DONDERO, AND THE DUGABOY
                                               §
 INVESTMENT TRUST,
                                               §
                                               §
                            Defendants.
                                               §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                               §
                                               §
                            Plaintiff,         § Adv. Proc. No. 21-03007-sgj
                                               §
 vs.                                           §
                                               § Case No. 3:21-cv-00881-X
 HCRE PARTNERS, LLC (n/k/a NexPoint            §
 Real Estate Partners, LLC), JAMES             §
 DONDERO, NANCY DONDERO, AND                   §
 THE DUGABOY INVESTMENT TRUST,                 §
                                               §
                                               §
                            Defendants.        §




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           OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE
      APPENDIX IN SUPPORT OF PLAINTIFF’S REPLY MEMORANDUM
       OF LAW IN FURTHER SUPPORT OF ITS MOTION FOR PARTIAL
  SUMMARY JUDGMENT AGAINST THE ALLEGED AGREEMENT DEFENDANTS

        Highland Capital Management, L.P. (“Highland” or “Plaintiff”), the reorganized debtor in

the above-captioned chapter 11 case (the “Bankruptcy Case”) and plaintiff in the above-referenced

adversary proceedings (collectively, the “Notes Actions”), hereby files this opposition (the

“Opposition”) to Defendants’ Motion to Strike Appendix in Support of Plaintiff’s Reply

Memorandum of Law in Further Support of Its Motion for Partial Summary Judgment Against the

Alleged Agreement Defendants 1 (the “Motion to Strike”) filed by James Dondero, NexPoint

Advisors, L.P. (“NexPoint”), Highland Capital Management Services, Inc. (“HCMS”), and HCRE

Partners, LLC (“HCRE”, and collectively with James Dondero, NexPoint, and HCMS,

“Defendants”). Highland fully incorporates by reference its contemporaneously filed brief in

opposition to the Motion to Strike and would show unto the Court as follows:

                                       RELIEF REQUESTED

        1.       By this Opposition, Highland respectfully requests that the Court enter an order

denying the Motion to Strike.

        2.       Pursuant to Rules 7.1(d) and (h) of the Local Civil Rules of the United States

District Court for the North District of Texas (the “Local Rules”), a separate brief (the “Brief”) is

being filed contemporaneously with this Opposition and is incorporated by reference.




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  Adv. Proc. No. 21-03003, Docket No. 169; Adv. Proc. No. 21-03005, Docket No. 177; Adv. Proc. No. 21-03006,
Docket No. 178; and Adv. Proc. No. 21-03007, Docket No. 173.



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                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Highland respectfully requests that the Court

(i) deny the Motion to Strike and (ii) grant such other and further relief as the Court deems just

and proper.

 Dated: March 18, 2022                     PACHULSKI STANG ZIEHL & JONES LLP

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